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                   9   and Defendant and Counter-Claimant
                       TICKETMASTER LLC
              10
              11                      UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
              12
              13
                       Complete Entertainment Resources         CASE NO. 2:15-CV-09814 DSF
              14       LLC d/b/a Songkick,                      (AGRX)
              15                           Plaintiff,           DEFENDANTS AND COUNTER-
              16             v.                                 CLAIMANT’S OPPOSITION TO
                                                                SONGKICK’S EX PARTE
              17       Live Nation Entertainment, Inc.;         APPLICATION FOR
                       Ticketmaster LLC,                        CLARIFICATION AND
              18                                                MODIFICATION OF THE
                                           Defendants.          COURT’S RECENT RULE
              19                                                16(b)(4) ORDER

              20
                       Ticketmaster LLC,
              21                                                The Honorable Dale S. Fischer
                                           Counter-Claimant,
              22
                             v.
              23
                       Complete Entertainment Resources         Trial: January 23, 2018
              24       LLC d/b/a Songkick,
              25                                                REDACTED VERSION
                                           Counter-Defendant.   OF DOCUMENT PROPOSED TO
              26                                                BE FILED UNDER SEAL

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                   1                                 INTRODUCTION
                   2        Songkick’s pattern of procedural gamesmanship continues. With no good
                   3 reason to do so, Songkick filed this Ex Parte Application eight minutes before the
                   4 start of the parties’ long-scheduled mediation in this litigation—an important
                   5 commitment that would, of course, tie up Defendants’ lead counsel for most of the
                   6 24 hours Defendants would have to respond. In substance, the application advances
                   7 arguments that are premature, for which Songkick has no standing, and which should
                   8 have been filed with Magistrate Judge Rosenberg because it is entirely focused on
                   9 discovery.
              10            The immediate impetus for Songkick’s filing is that the Court’s previous order
              11 authorizing discovery into Songkick’s lost enterprise value claim (ECF No. 548) has
              12 struck a nerve. Songkick is plainly afraid of what Defendants are going to learn by
              13 exercising the discovery rights the Court has provided. Indeed, the initial results of
              14 Defendants’ review of Songkick’s document production confirm the true motive for
              15 the Application – it calls Songkick’s damages theories and prior representations to
              16 the Court into significant question. So in this preemptive manner, Songkick is trying
              17 to raise the specter of overbroad discovery to erect barriers to the very process the
              18 Court previously ordered. There is no sound basis for Songkick’s complaints, much
              19 less its use of the inappropriate vehicle of an ex parte application to voice them. See
              20 Standing Order ¶ 11, ECF No. 9 (“Ex parte applications are solely for extraordinary
              21 relief.”).
              22            Songkick takes issue with both (a) discovery Defendants have sought from
              23 Songkick, and (b) third-party discovery Defendants are seeking from Songkick’s
              24 investors. Any such complaints are both unfounded and unripe. Defendants have
              25 not yet taken a single deposition pursuant to the Court’s order expressly authorizing
              26 them. Defendants received Songkick’s document production over the weekend, and
              27 are in the process of reviewing it. Defendants have noticed the depositions of three
              28 Songkick officers, and will determine whether it makes sense to proceed with all, or

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                   1 just some, of them once we have processed the documents. But as of now, there is
                   2 little happening on this front, let alone anything that could warrant emergency relief.
                   3         With respect to Songkick’s investors, the discovery has been a tougher slog.
                   4 But Defendants are sorting that out with counsel for those third parties, who are the
                   5 only ones with standing to raise objections. As a matter of law, Songkick has no
                   6 standing to quash any subpoena issued to another company, and as a matter of
                   7 practice, those companies—major venture capital firms—can (and do) speak for
                   8 themselves are ably represented. For the Court’s reference, we describe in some
                   9 detail below and in the accompanying Declaration of Mark Seifert precisely what
              10 the state of play is on this third-party discovery. But the salient point is that Songkick
              11 is cannot be heard to complain about it.
              12             Finally, the substance of the discovery Defendants are taking overwhelmingly
              13 justifies any burden it imposes (on all parties equally) in any event. In the few days
              14 that Defendants have been in possession of the documents Songkick has produced,
              15 it has become clear that the investigation this Court allowed has entirely vindicated
              16 Defendants’ suspicion that the transaction at issue—the July 2017 sale of assets by
              17 Songkick to Warner Music, which is owned by Songkick’s principal investor—was
              18 not arm’s-length. That evidence irrefutably contradicts numerous assertions by
              19 Songkick’s counsel, made both to Defendants’ counsel and to this Court, that the
              20 transaction was fully above-board and profit-maximizing on its own terms, rather
              21 than a cynical litigation ploy to inflate Songkick’s damages case in this litigation.
              22 The discovery Defendants are continuing to seek from Songkick and third parties is
              23 easily proportionate to the stakes and scale of this issue, which concerns a portion of
              24 Songkick’s antitrust damages case worth $45 million, before trebling.
              25 I.          BACKGROUND
              26                   The Court Opens Discovery Into Songkick’s Asset Sale
              27             In mid-July 2017, Songkick announced that it had sold a number of assets—
              28 including the Songkick brand and “discovery app” business, which was the business
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                   1 previously known as “Songkick” before that firm merged with the artist presale
                   2 company CrowdSurge—to Warner Music Group Corp. (“Warner”) for an
                   3 undisclosed amount.     See Songkick Sells Concert-Recommending Service to
                   4 Warner,      N.Y.    Times,     July    14,    2017,         https://www.nytimes.com
                   5 /2017/07/14/business/media/songkick-warner-concerts.html.             On September 22,
                   6 2017—two months after the transaction’s close—Songkick produced the asset
                   7 purchase agreement to Defendants. Fisher Decl. Ex. 1. Two weeks later, Songkick
                   8 served a supplemental report from its expert, David Yurkerwich, in which he relied
                   9 on the asset sale in offering a new opinion about Songkick’s lost business value
              10 damages claim.
              11            On October 30, 2017, when the Court continued the trial to January 23, 2018,
              12 Defendants promptly requested limited discovery related to the asset sale, because it
              13 involved a $45 million damages issue. Songkick refused, and Defendants moved ex
              14 parte to reopen discovery regarding the asset sale. Defs.’ Ex Parte Appl. for Limited
              15 Discovery, ECF No. 543.1
              16            On November 6, 2017, the Court granted Defendants’ application in full,
              17 holding that “Defendants are entitled to inquire into the circumstances of the sale . . .
              18 in order to probe whether the sale price is a meaningful true market value of the
              19 assets.” Order Granting in Part and Denying in Part Defs.’ Rule 37(c) Mot., ECF
              20 No. 548 at 3. The Court also signed Defendants’ proposed order, which expressly
              21 authorized the issuance of “deposition subpoenas pursuant to Federal Rule of Civil
              22 Procedure 45 to Warner Music Group and any other third party reasonably
              23 knowledgeable of the July 2017 sale of Songkick’s assets to Warner Music Group.”
              24 Ex Parte Order at 1.
              25
              26
              27      1
                  Defendants’ ex parte application to the Court included document requests that are
                 substantially identical to those served on the third parties through Defendants’
              28 subpoenas. Fisher   Decl. Ex. 2.
      18

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                   1               Defendants Serve Subpoenas Pursuant To The Court Order
                   2         Pursuant to the Court’s order, Defendants served subpoenas seeking
                   3 documents and a deposition on Warner on November 9, 2017. Seifert Decl. Exs. 7,
                   4 8. Within the same week, Defendants served substantially identical subpoenas on
                   5 Songkick’s three largest investors: Access Industries, Inc. (“Access”), Index
                   6 Ventures (U.S.), Inc. (“Index”), and Sequoia Capital U.S. Venture Fund, L.P.
                   7 (“Sequoia”). Seifert Decl. Exs. 1-6. Index and Sequoia are the two largest investors
                   8 in Songkick other than Access, which owned 48.9% of Songkick as of March 2017.
                   9 Fisher Decl. Ex. 3, Dep. of J. Martinez 35:1-38:16. Access’ 30(b)(6) deponent in
              10 this litigation, Javier Martinez, testified that
              11                                                                                        .2 Id. 23:4-
              12 16, 145:2-9.
              13             Notwithstanding this Court’s order, Access, Index, Sequoia, and Warner
              14 (collectively, the “Subpoenaed Third Parties”) each served objections and responses
              15 to the subpoenas, refusing either to produce documents or a witness for deposition
                           3
              16 (or both). Seifert Decl. Exs. 9-15. Defendants continue to meet and confer with
              17 the Subpoenaed Third Parties regarding their refusal to comply with the subpoenas.
              18 Seifert Decl. ¶¶ 25-26, Exs. 20-24.
              19
                       2
              20         Mr. Blavatnik not only controls Songkick; he also owns many other businesses
                       through Access, including (significantly for purposes of this opposition) Warner
              21       Music Group Corp.            See Access Industries, Warner Music Group,
                       https://www.accessindustries.com/holdings/warner-music-group/.        Indeed, Mr.
              22       Blavatnik is the Vice-Chairman of Warner’s board. See Bloomberg, Company
                       Overview of Warner Music Group Corp, https://www.bloomberg.com/
              23       research/stocks/private/board.asp?privcapId=734078.
                       3
              24         One of the principal arguments advanced by the Subpoenaed Third Parties is that
                       because the Court’s order granting discovery expressly stated that depositions were
              25       authorized, see Ex Parte Order, the Court’s order somehow prohibited document
                       discovery. Seifert Decl. ¶ 20. Defendants have explained to the Subpoenaed Third
              26       Parties that their reading of the Court’s order is unreasonable, and that Rule 45
                       specifically authorizes a party to obtain document discovery through a deposition
              27       subpoena. For the avoidance of doubt, Defendants re-served the Subpoenaed Third
                       Parties with combined deposition and document subpoenas that include identical
              28       deposition topics and document requests as the prior subpoenas. Seifert Decl. Exs.
                       16-19.
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                   1                Songkick Attempts To Intervene In The Third Party Discovery
                   2        On November 9, 2017, three weeks before its document production, Songkick
                   3 complained that Defendants’ noticing of the depositions of Songkick’s CEO, CFO
                   4 and COO regarding the asset sale was unduly burdensome in light of the January 23
                   5 trial date. Fisher Decl. Ex. 4. Songkick preferred a single Rule 30(b)(6) deposition
                   6 instead. On November 14, Defendants replied that it was impossible to make
                   7 decisions regarding depositions until Defendants had received and reviewed
                   8 Songkick’s document production, and reminded Songkick that any interference with
                   9 the parties’ trial preparations caused by the depositions was a problem created by
              10 Songkick’s failure to produce the asset sale agreement for three months. Fisher Decl.
              11 Ex. 5.
              12            On November 30, again before making its production, Songkick demanded
              13 that Defendants unilaterally agree to limit their discovery from the Subpoenaed
              14 Third Parties and Songkick, “else [Songkick] will move for a protective order” from
              15 “Judge Fischer.” Fisher Decl. Ex. 6. The parties subsequently exchanged emails
              16 but did not complete the meet and confer process before Songkick filed its premature
              17 ex parte application on the morning of mediation. Fisher Decl. Exs. 7-8.
              18 II.        ARGUMENT
              19                    This Application Is Procedurally Improper On Multiple Grounds
              20                    1.      The Application Should Be Referred to Magistrate Judge
                                            Rosenberg
              21
              22            This is, in substance, a discovery dispute. Paragraph 4(b) of the Standing
              23 Order entered in this action provides that “[a]ll discovery matters have been referred
              24 to the assigned magistrate judge.” Initial Standing Order at 3, ECF No. 9; see also
              25 The         Hon.        Dale   S.   Fischer’s   Procedures     &       Schedules         at     ¶     2,
              26 http://www.cacd.uscourts.gov/honorable-dale-s-fischer (“All discovery motions and
              27 stipulations, including those relating to protective orders, are to be calendared before
              28 the magistrate judge whose initials appear in parentheses after the case number.”).
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                   1         Magistrate Judge Rosenberg is the magistrate judge assigned to this action
                   2 and has presided over numerous discovery matters throughout this case. See Notice
                   3 of Assignment, ECF No. 6. Songkick’s application—which Songkick framed as a
                   4 “motion for a protective order” until Monday evening, see supra Section I.C—is a
                   5 procedurally improper attempt to avoid Magistrate Judge Rosenberg’s jurisdiction
                   6 over discovery matters. Accordingly, the Court should refer Songkick’s application
                   7 to Magistrate Judge Rosenberg, where it should have been filed in the first instance
                   8 (if at all).
                   9                2.   The Court Should Deny the Application as an Improper
                                         Motion for Reconsideration
              10
              11             After Defendants advised Songkick that its motion must be heard by
              12 Magistrate Judge Rosenberg, and that Songkick lacked standing to move for a
              13 protective order on behalf of the subpoenaed third parties, Songkick reframed its
              14 application (albeit without even attempting to meet and confer on this basis with
              15 Defendants). In an apparent attempt to avoid Magistrate Judge Rosenberg, Songkick
              16 now attempts to characterize its application as seeking “clarification” or
              17 “modification” of the Court’s order reopening discovery. See Ex Parte Order. But
              18 the Federal Rules do not provide for “motions for clarification or modification.”
              19 Songkick’s application is really an improper motion for reconsideration: it seeks to
              20 relitigate the issues briefed and decided by this Court’s recent order, id., granting
              21 Defendants leave to pursue the limited discovery it has barely begun to take.
              22             Local Rule 7-18 provides that the only grounds for a motion for
              23 reconsideration are “(a) a material difference in fact or law that . . . could not have
              24 been known to the party moving for reconsideration at the time of such decision,”
              25 “(b) the emergence of new material facts or a change of law,” or “(c) a manifest
              26 showing of a failure to consider material facts presented to the Court.” See also
              27 Aydlett v. Flat Rate Moving & Storage Md. LLC, 2017 WL 3579548, at *1 (C.D.
              28 Cal. July 27, 2017) (noting that the grounds for granting a motion for reconsideration
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                   1 are “mistake, surprise, or excusable neglect; newly discovered evidence that, with
                   2 reasonable diligence, could not have been discovered in time”). Songkick has not
                   3 even cited Local Rule 7-18, let alone attempted to satisfy the standard it imposes.
                   4 For that reason alone, the application should be denied.
                   5               There Is No Basis For Any Relief Regarding The Noticed
                                   Depositions of Songkick’s Executives
                   6
                   7        With respect to discovery that Defendants are seeking from Songkick, the
                   8 request in the Application is relatively narrow: Songkick asks the Court to limit
                   9 Defendants to a single Rule 30(b)(6) deposition of a Songkick employee because
              10 “there is no indication the Asset Sale was anything but an arms’ length transaction.”
              11 Pl.’s Ex Parte Appl for Clarification (“Pl.’s Appl.”) at 6, ECF No. 558.
              12            The relief Songkick seeks is at best premature.              Defendants received
              13 Songkick’s document production on Friday evening (December 1). There has been
              14 no opportunity to thoroughly review who the relevant document custodians appear
              15 to have been, much less analyze the substance of their correspondence and analysis.
              16 Defendants are under no obligation—certainly not one from the Court’s prior order,
              17 nor one from the Federal Rules—to limit themselves to a Rule 30(b)(6) deposition
              18 is the sensible course forward here before even looking comprehensively at the
              19 material Songkick has disclosed.
              20            That said, in just the preliminary stages of their review, Defendants have
              21 uncovered numerous documents that belie Songkick’s representations to the Court
              22 that Songkick did everything it could to maximize the price of the asset sale, that
              23 Access had no influence over the asset sale, and that the valuation of legacy
              24 Songkick was the product of an arm’s length transaction. Instead, the documents
              25 show that Songkick’s focus was on a quick sale that would not dilute Access’
              26 ownership interest in Songkick.
              27            For example, one email sent by Songkick CEO Matt Jones to a Warner
              28 employee described the process for selling the concert-discovery app business as
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                   1 follows:
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                   3
                   4                                                                ” Fisher Decl. Ex. 9 at -
                   5 163 (emphasis added). In another document discussed below, Songkick noted that
                   6
                   7
                   8                     Fisher Decl. Ex. 12 at -057 (emphasis added). Given those
                   9 restrictions and priorities, it is hardly surprising that Warner would be the highest
              10 bidder, given that only Access and its subsidiary had any insight into legacy
              11 Songkick’s value.
              12            Other documents similarly call the arm’s-length nature of the transaction into
              13 question:
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                             Defendants are only beginning to scratch the surface of Songkick’s document
              14
                       production, and are concerned that Songkick’s production is underinclusive in
              15
                       several respects, including Songkick’s apparent failure to produce documents stored
              16
                       in Songkick’s Google Docs system. Until Defendants have an opportunity to fully
              17
                       review these documents, however, any motion practice regarding whether
              18
                       depositions of particular Songkick employees are appropriate is unripe. That said,
              19
                       it certainly does appear, at first blush, that Songkick’s representations to the Court
              20
                       that it sought nothing but the highest value for its concert-discovery app were false.
              21
                       E.g. Pl.’s Appl. at 7; Pl.’s Response to Defs.’ Ex Parte Appl. at 7, ECF No. 546
              22
                       (“Only a few submitted formal bids . . . . Songkick then took the highest bid offered.
              23
                       How that could be anything but an arms’ length transaction is an issue Defendants
              24
                       blithely ignore”).
              25
                                     There Is No Basis For Any Relief Regarding The Third Party
              26                     Discovery
              27             Songkick’s requests for various forms of relief with respect to third-party
              28 discovery fail for numerous reasons.
      18

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                   1
                   2               1.     Songkick Does Not Have Standing to Challenge the Third
                                          Party Subpoenas
                   3
                   4         Federal courts, including courts in this district, have held that “a party has no
                   5 standing to seek to quash a subpoena issued to someone who is not a party to the
                   6 action, unless the objecting party claims some personal right or privilege with regard
                   7 to the documents sought.”4 Crispin v. Christian Audigier, Inc., 717 F. Supp. 2d 965,
                   8 973-74 (C.D. Cal. 2010) (Morrow, J.) (quoting 9A Charles Alan Wright et al,
                   9 Federal Practice and Procedure § 2459 (3d ed. 2008)); see also Terteryan v. Nissan
              10 Motor Acceptance Corp., 2017 WL 3576844, at *2 (C.D. Cal. July 5, 2017) (same)
              11 (Stevenson, M.J.); Voice Int’l, Inc. v. Oppenheimer Cine Rental, LLC, 2016 WL
              12 6674989, at *3 (C.D. Cal. May 3, 2016) (same) (Stevenson, M.J.).
              13             There are good reasons for this doctrine, including that when one actor seeks
              14 to interpose itself in a dispute between two other actors, the interloper may not have
              15 a complete picture of the relevant facts. That is precisely what has happened here.
              16 Moreover, even if Songkick had standing to object, its recitation of the state of play
              17 between Defendants and Songkick’s investors is simply wrong in a number of
              18 critical respects:
              19                • Songkick asserts that Defendants “[t]hreatened a motion to compel
                                  against Access Industries, even though it offered a Rule 30(b)(6)
              20                  witness on the notice topics.” Pl.’s Appl. at 6. In fact, Access offered
                                  only a two-hour deposition by videoconference, and also is refusing to
              21                  produce documents, which prompted Defendants to initiate the meet
                                  and confer process with Access regarding a possible motion to compel,
              22                  which is still ongoing. Seifert Decl. ¶¶ 13, 25-27 Exs. 9, 20, 24.
              23                • Songkick asserts that Defendants “[t]hreatened a motion to compel
                                  against Index Ventures . . . even though it produced all the documents
              24                  it has.” Pl.’s Appl. at 5. In fact, Index is asserting numerous objections
                                  that may have limited its production, and is refusing to provide a
              25                  witness for deposition despite the fact that it has admitted that it would
                                  take almost no time to educate a witness with Index’s knowledge.
              26                  Seifert Decl. ¶¶ 14-15, 25, 27, Exs. 10-11, 21.
              27
                 4
                   Songkick’s papers do not contend that Songkick has any personal right or
              28 privilege in the Subpoenaed Third Parties’ documents.
      18

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                   1             • Songkick asserts that Defendants “[t]hreatened a motion to compel
                                   against Warner Music Group, even though it offered the most
                   2               knowledgeable deponent to testify in a Rule 30(b)(6) capacity.” Pl.’s
                                   Appl. at 5. In fact, Warner asserted numerous objections and offered
                   3               an employee hired only three months before the asset sale transaction,
                                   and has refused to educate that witness with Warner’s collective
                   4               knowledge, including board-level knowledge. Seifert Decl. ¶¶ 18-19,
                                   25, 27, Exs. 14-15, 23. Despite that, Defendants offered to accept the
                   5               employee’s documents and testimony if Warner also offered Mr.
                                   Blavatnik’s and Mr. Benet’s board-level documents. Id. ¶¶ 25-27, Ex.
                   6               23. Warner refused, leading to the current dispute. Seifert Decl. ¶¶ 25,
                                   27, Ex. 23.
                   7
                                 • Finally, Songkick makes much of the fact that Defendants have
                   8               subpoenaed four third-party depositions, Pl.’s Appl. at 6, while
                                   ignoring the fact that these depositions are limited in scope to a single
                   9               transaction. Moreover, Defendants still have not obtained documents
                                   from the Subpoenaed Third Parties that would permit Defendants to
              10                   determine whether the depositions are ultimately necessary.
              11             Not only, then, is Songkick’s effort to restrict Defendants’ third-party
              12 discovery improper from the start. It also reflects significant mistakes of fact that
              13 distort the record of correspondence, the negotiations, and the progress of those
              14 third-party discovery efforts. There is no basis for the Court to do anything at all
              15 vis-à-vis companies other than Songkick from whom Defendants now seek
              16 discovery.
              17                    2.     Defendants’ Third-Party Discovery is Reasonable
              18
                             The discovery Defendants are seeking (and have not yet received) from third
              19
                       parties is perfectly reasonable in any event.
              20
                                           (a)   The Order and Rule 45 Authorize Document
              21                                 Discovery
              22             Songkick argues, on behalf of the Subpoenaed Third Parties, that the Court’s
              23 order reopening discovery impliedly prohibited document discovery from third
              24 parties. Even if Songkick had standing to make that argument (it does not),
              25 Songkick’s strained reading of the Court’s order is contradicted by Rule 45 and
              26 common sense.
              27             Songkick’s contention is predicated entirely on the last sentence of the Court’s
              28 order, which provides that “Defendants may issue deposition subpoenas pursuant to
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                   1 Federal Rule of Civil Procedure 45 to Warner Music Group and any other third party
                   2 reasonably knowledgeable of the July 2017 sale of Songkick’s assets to Warner
                   3 Music Group.” Ex Parte Order at 1. Songkick narrowly focuses on the term
                   4 “deposition subpoenas,” arguing that because the Court’s order made crystal-clear
                   5 that depositions were authorized, the Court must have intended to prohibit document
                   6 discovery.
                   7        Rule 45 expressly provides that “[a] command to produce documents . . . may
                   8 be included in a subpoena commanding attendance at a deposition.” Fed. R. Civ.
                   9 P. 45(a)(1)(C). Thus, a “deposition subpoena [issued] pursuant to Federal Rule of
              10 Civil Procedure 45,” ECF No. 549 at 1, is a subpoena that can validly “command to
              11 produce documents.” Fed. R. Civ. P. 45(a)(1)(C); see also Cole v. City of N.Y., 2012
              12 WL 1138570, at *3 (S.D.N.Y. Apr. 5, 2012) (noting that a “subpoena ordering the
              13 witness to appear . . . and to bring specified documents, records, or things” is “[a]lso
              14 termed deposition subpoena duces tecum.”) (quoting Black’s Law Dictionary 1563
              15 (9th ed. 2009)); id. at *3-4 (“Rule 45(a)(1)(C) authorizes a subpoena to command
              16 production of documents at a deposition.”) (quoting 8A Charles Alan Wright et al.,
              17 Federal Practice and Procedure § 2108 (3d ed. 2010)). In short, the distinction
              18 Songkick is attempting to draw simply does not exist in the Federal Rules or the
              19 Court’s order.
              20            Songkick’s objection not only ignores the Federal Rules, it also defies
              21 common sense. Depositions of the third parties without the benefit of documents
              22 would be inefficient, preclude Defendants from testing the veracity of the testimony,
              23 and undermine Defendants’ efforts to take the discovery it needs to defend against
              24 Songkick’s $45 million damages claim.
              25                         (b)   Defendants Have Reasonably Limited the Scope of
                                               Their Discovery and the Entities from Whom They
              26                               Seek It
              27            Defendants have heeded the Court’s directive to limit third party discovery to
              28 “Warner Music Group and any other third party reasonably knowledgeable of the
      18

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                   1 July 2017 sale of Songkick’s assets to Warner Music Group.” In accordance with
                   2 the Court’s order, Defendants have limited their discovery efforts to the parties to
                   3 the transaction (Songkick and Warner) and Songkick’s largest investors (Sequoia,
                   4 Index, and Access). Defendants have also limited the scope of the deposition topics
                   5 and document requests sought from each of the Subpoenaed Third Parties. In fact,
                   6 each of Defendants’ subpoenas includes substantially identical document requests
                   7 and deposition topics as those that the Court approved in its order reopening
                   8 discovery.
                   9        Songkick makes much of the fact that Defendants asked Warner’s counsel if
              10 it would accept service of subpoenas on Len Blavatnik, the owner of Access and
              11 Vice-Chairman of Warner’s board of directors, as well as Lincoln Benet, an Access
              12 employee and another member of Warner’s board of directors. What Songkick fails
              13 to explain is that Defendants’ request was prompted by Warner’s counsel taking the
              14 remarkable position that Warner does not have possession, custody, or control of
              15 any documents in the possession of its directors. Seifert Decl. ¶¶ 25, 27 Ex. 23. That
              16 is incorrect as a matter of law, as documents in the control of a corporation’s
              17 directors are within the corporation’s control. See Miniace v. Pac. Martime Ass’n,
              18 2006 WL 335389, at *2 (N.D. Cal. Feb. 13, 2006) (holding that corporation has
              19 control over its directors, including outside directors, and that production is therefore
              20 required); ActiveRain Corp. v. Move, Inc., 2008 WL 11343022, at *2 (C.D. Cal.
              21 May 8, 2008) (ordering production of documents “provided to or discussed by [the
              22 corporation’s] Board of Directors.”); cf. In re Marvel Entm’t Grp., Inc., 273 B.R. 58,
              23 74 (D. Del. 2002) (“[A] corporation acts through its board.”). It appears this issue
              24 will be litigated before Magistrate Judge Rosenberg, Seifert Decl. ¶¶ 25, 27 Ex. 23,
              25 but Defendants are entitled to seek alternative, more efficient means of obtaining the
              26 discovery to which it is entitled, given Warner’s obstreperousness on this point.
              27            More generally, Defendants’ efforts to review Mr. Benet’s and Mr.
              28 Blavatnik’s documents regarding the sale is entirely reasonable. The basis for the
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                   1 present discovery that Defendants are conducting is precisely that Mr. Blavatnik’s
                   2 ownership of both Warner and Songkick afforded ample opportunity for funny
                   3 business regarding the pricing of the sale of Songkick to Warner, conducted in the
                   4 course of this litigation, in the context of a nine-figure damages claim. He and his
                   5 right-hand man, Mr. Benet, are plainly the key custodians from whom discovery is
                   6 necessary: they would be the ones to have emails suggesting an interest to maximize
                   7 litigation damages at the expense of fair market value, or otherwise affording indicia
                   8 of a transaction that does not pass the smell test.
                   9         There is nothing “abusive” or “harassing” about an effort to subpoena these
              10 gentlemen individually, in the face of unfounded assertions by the entities they are
              11 affiliated with that the entities themselves cannot and will not produce them.
              12 Songkick’s objections to this third party discovery are not only barred by law, but
              13 are also baseless.
              14 III.        CONCLUSION
              15             Defendants respectfully request that the Court refer Songkick’s application to
              16 Magistrate Judge Rosenberg, or in the alternative deny it in its entirety.
              17
              18 Dated: December 6, 2017
              19                                             LATHAM & WATKINS LLP
              20                                             By:     /s/ Daniel M. Wall
              21                                                     Daniel M. Wall
                                                                     Timothy L. O’Mara
              22                                                     Andrew M. Gass
                                                                     Kirsten M. Ferguson
              23                                                     Attorneys for Defendant
              24                                                     LIVE NATION ENTERTAINMENT,
                                                                     INC. and Defendant and Counter-
              25                                                     Claimant TICKETMASTER LLC

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              28
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